Case 1:23-cv-00822-ADA Document 27-4 Filed 12/22/22 Page 1 of 4




                               	  
                               	  
                               	  
        Exhibit	  G	  
 Case 1:23-cv-00822-ADA Document 27-4 Filed 12/22/22 Page 2 of 4


                                                           Home   My Network   Jobs




Bill  Galliani     · 3rd
Partner at Cooley LLP
     Cooley LLP
     Santa Clara University
Menlo Park, California, United States · Contact info
500+ connections
     Message             Follow       More

Activity
611 followers
Bill hasn't posted lately
Bill’s recent posts and comments will be displayed here.
                              Show all activity

Experience
        Partner
        Cooley LLP
        2000 - Present · 23 yrs
        Partner
        Pennie & Edmonds
        1998 - 2000 · 2 yrs
Case 1:23-cv-00822-ADA Document 27-4 Filed 12/22/22 Page 3 of 4
      Palo Alto
                                                             Home      My Network   Jobs
      Partner
      Flehr Hohbach Test Albritton & Herbert
      1988 - 1998 · 10 yrs
      Palo Alto

Education
      Santa Clara University
      JD
      1990
      Northwestern University
      Bachelor of Science (B.S.), Electrical and Electronics Engineering
      1984

Interests
Companies         Groups      Schools
      Santa Clara University
      104,901 followers
             Follow
      Cooley LLP
      42,854 followers
             Follow
                           Show all 3 companies
                  Case 1:23-cv-00822-ADA Document 27-4 Filed 12/22/22 Page 4 of 4

Contact
                                    Bill Galliani
www.linkedin.com/in/bill-           Partner at Cooley LLP
galliani-034aa050 (LinkedIn)        Menlo Park, California, United States


                                    Experience
                                    Cooley LLP
                                    Partner
                                    2000 - Present (22 years)


                                    Pennie & Edmonds
                                    Partner
                                    1998 - 2000 (2 years)
                                    Palo Alto


                                    Flehr Hohbach Test Albritton & Herbert
                                    Partner
                                    1988 - 1998 (10 years)
                                    Palo Alto




                                    Education
                                    Santa Clara University
                                    JD · (1990)


                                    Northwestern University
                                    Bachelor of Science (B.S.), Electrical and Electronics Engineering · (1984)




                                                                      Page 1 of 1
